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4
     Attorneys for Defendant,
5    THOMAS LU
6                  IN THE UNITED STATES DISTRICT COURT FOR THE
7                         EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                   Case No.: 2:12-CR-0207-TLN
10                Plaintiff,
                                                 STIPULATION AND ORDER
11        vs.                                    CONTINUING STATUS CONFERENCE
12   THOMAS LU,                                  Date:   November 6, 2014
                                                 Time:   9:30 a.m.
13                Defendant.                     Ctrm:   2 (TLN)
14
15        The United States of America, through its counsel Assistant

16   U. S. Attorneys William Wong and Michael Anderson, and defendant

17   Thomas Lu, through his counsel M. Bradley Wishek, stipulate that

18   the status conference regarding the imposition of judgment and

19   sentence upon Mr. Lu now scheduled for 9:30 a.m. on November 6,

20   2014, may be continued to March 26, 2015, at 9:30 a.m.

21        A continuance of the status conference is necessary

22   because, while Mr. Lu’s case has been resolved by way of a

23   guilty plea, the charges against some other defendants in the

24   case are still pending and information pertaining to the

25   resolution of the charges against those defendants may be

26   helpful to the Court in fashioning a sentence for Mr. Lu.

27   Therefore, the parties request that the status conference

28   regarding the imposition of judgment and sentence pertaining to


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                     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
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1    Mr. Lu be continued to March 26, 2015, at 9:30 a.m.
2         IT IS SO STIPULATED.
3
4    DATED:    November 3, 2014         By://s// M. Bradley Wishek for
                                                 William Wong
5                                                Assistant U.S. Attorney
6    DATED:    November 3, 2014         By://s// M. Bradley Wishek_
                                                M. BRADLEY WISHEK,
7                                               ROTHSCHILD WISHEK & SANDS
                                                LLP, Attorneys for
8                                               Defendant Thomas Lu
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                    STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
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1                                        ORDER
2         Good cause appearing upon the stipulation of the parties,
3    it is ordered that the status conference regarding the
4    imposition of judgment and sentence upon Thomas Lu now scheduled
5    for November 6, 2014, is continued to 9:30 a.m. on March 26
6    2015.
7         IT IS SO ORDERED:
8
9    Dated:   November 4, 2014
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13                        Troy L. Nunley
                          United States District Judge
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                    STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
